                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

BRAD AMOS,                                        )
                                                  )   Case No. 3:21-cv-00923
        Plaintiff,                                )
                                                  )   District Judge Richardson
v.                                                )
                                                  )   Magistrate Judge Holmes
THE LAMPO GROUP, LLC, et al,                      )
                                                  )   Jury Demand
        Defendants.                               )

                     DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

        Defendants, The Lampo Group, LLC (“Lampo”) and Dave Ramsey (“Ramsey”), by and

through undersigned counsel and pursuant to Rule 30(d)(3) of the Federal Rules of Civil Procedure

and the Court’s Order dated June 23, 2023 (Doc. #105), move the Court for a protective order

prohibiting Plaintiff, Brad Amos, from seeking deposition testimony from Ramsey related to

Caitlin O’Connor v. The Lampo Group, LLC, Case No. 3:20-cv-00628, currently pending in the

U.S. District Court for the Middle District of Tennessee (the “Pending Litigation”).

        As more fully explained in Defendants’ concurrently filed memorandum of law (Doc.

#107), the Pending Litigation has no relevance to this case and Plaintiff is seeking deposition

testimony about it from Ramsey in a bad faith attempt to annoy, embarrass, and oppress

Defendants.

                                                             Respectfully submitted,
                                                             /s/Leslie Goff Sanders
                                                             Leslie Goff Sanders (TN #18973)
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                                                            Attorneys for Defendants



                                CERTIFICATE OF SERVICE
        I certify that, on June 23, 2023, I filed the foregoing Defendants’ Motion for Protective

Order via the Court’s electronic filing system, which will automatically notify and send a copy of

the filing to:

Jonathan A. Street
Lauren J. Irwin
Brandon G. Hall
Cullen D. Hamelin
THE EMPLOYMENT AND CONSUMER LAW GROUP

Attorneys for Plaintiff


                                                            /s/Leslie Goff Sanders
                                                            Leslie Goff Sanders (TN #18973)
                                                            Attorney for Defendants




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